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           Case 1:20-cr-00068-LEK Document 62-6 Filed 05/20/22 Page 2 of 3                             PageID.706




From:Keller,John(CRM)
Sent:Wednesday,August12,202011:05PM
To:Lowell,Abbe                        
Subject:RE:Update

Iwouldaskthatyounotrelateanythingtoothercounseluntilthedaythatwefile.IfyouandIareabletoreachafinal
agreementonthesedocumentsͲͲevenifIamwaitingforfinalapprovalfromoneofficeoranotherͲͲIwillthengiveyou
noticebeforefilingsothatyoucanprovidenoticetoothercounselbeforetheInformationisactuallyfiled.

ͲͲͲͲͲOriginalMessageͲͲͲͲͲ
From:Lowell,Abbe                        
Sent:Wednesday,August12,202010:49PM
To:Keller,John(CRM)                                    
Subject:Re:Update

Thanksandofcourselookingonlyforanythingthatis“wrong.”Wewillneedtodiscusswhatothercounselshouldknow
beforeFridaythen

AbbeDavidLowell

Partner

Winston&StrawnLLP
1700KStreet,N.W.<xͲappleͲdataͲdetectors://0/1>
Washington,DC20006Ͳ3817<xͲappleͲdataͲdetectors://0/1>

D:+                 <tel:+1                   >

F:+1                <tel                      >


200ParkAvenue<xͲappleͲdataͲdetectors://1/0>
NewYork,NY10166Ͳ4193<xͲappleͲdataͲdetectors://1/0>

D:+1                <tel:+1%                   

F:+1               <tel:+1                    

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6419acbfd9bc68e0&q=1&e=c9b66582Ͳ52eaͲ4950Ͳb493Ͳ

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Email<mailto:adlowell@winston.com>|winston.com<https://protect2.fireeye.com/v1/url?k=1d1da0d1Ͳ41650dfcͲ
1d1a8434Ͳac1f6b0176b0Ͳb69368af2438d55f&q=1&e=c9b66582Ͳ52eaͲ4950Ͳb493Ͳ
72978b7ceddc&u=http%3A%2F%2Fwww.winston.com%2F>
[Winston&StrawnLLP]
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